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                         EXHIBIT 2



                  [REDACTED VERSION]
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 1                                          THE HONORABLE JOHN C. COUGHENOUR

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 8
                                 UNITED STATES DISTRICT COURT
 9                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
10

11   IN RE VALVE ANTITRUST LITIGATION            Case No. 2:21-cv-00563-JCC
12                                               PLAINTIFFS’ NOTICE OF FED. R. CIV.
13                                               P. 30(b)(1) DEPOSITION OF GABE
                                                 NEWELL
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     PLAINTIFFS’ NOTICE OF DEPOSITION OF                WILSON SONSINI GOODRICH & ROSATI
     GABE NEWELL                                            701 Fifth Avenue, Suite 5100
     CASE NO. 2:21-CV-00563-JCC                               Seattle, WA 98104-7036
                                                                Tel: (206) 883-2500
             Case 2:21-cv-00563-JCC Document 166-2 Filed 11/15/23 Page 3 of 6




 1           PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil

 2   Procedure and applicable Local Civil Rules for the United States District Court for the Western

 3   District of Washington, Plaintiffs Wolfire Games, LLC, Dark Catt Studios Holdings, Inc., and

 4   Dark Catt Studios Interactive LLC (collectively, Plaintiffs), on behalf of themselves and the

 5   putative class, by and through their co-lead counsel, will take the deposition of Gabe Newell at

 6   the offices of Wilson Sonsini Goodrich & Rosati, P.C., 701 Fifth Avenue Suite 5100, Seattle,

 7   Washington 98104, on November 21, 2023, commencing at 9:00 a.m. Pacific Time. Plaintiffs

 8   understand that the witness is employed by, and under the control of, Defendant Valve

 9   Corporation.

10           The deposition will continue from day to day until completed as provided in the Federal

11   Rules of Civil Procedure and the deposition protocol in this case, and shall be taken before an

12   officer, notary public, or other person duly authorized to administer oaths. Pursuant to Fed. R.

13   Civ. P. 30(b)(3), the testimony will be recorded by stenographic, audio, video, and/or real-time

14   stenographic means. Plaintiffs reserve all available rights to use the witness’ testimony in any

15   such means as may be permitted including in connection with motions, hearings, trial, and/or

16   other proceedings in this litigation.

17           Counsel for Valve has stated

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             Case 2:21-cv-00563-JCC Document 166-2 Filed 11/15/23 Page 4 of 6




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 6   Dated: November 1, 2023

 7                                           /s/ Stephanie L. Jensen ____________
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     PLAINTIFFS’ NOTICE OF DEPOSITION OF     -2-            WILSON SONSINI GOODRICH & ROSATI
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             Case 2:21-cv-00563-JCC Document 166-2 Filed 11/15/23 Page 5 of 6




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     PLAINTIFFS’ NOTICE OF DEPOSITION OF          -3-      WILSON SONSINI GOODRICH & ROSATI
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     PLAINTIFFS’ NOTICE OF DEPOSITION OF     -4-           WILSON SONSINI GOODRICH & ROSATI
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